                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION
                               NO: 5:07-CR-00117-7-BR



 UNITED STATES OF AMERICA                             )
                                                      )
 v.                                                   )
                                                                          ORDER
                                                      )
                                                      )
 ARTHUR J. ANDERSON JR.,                              )
                      Defendant                       )

       This matter is before the court on defendant’s 11 June 2010 “objection,” which the court

construes as a motion to direct the government to cease its collection efforts directed to Gail

Russell. The government has filed a response.

       On 6 October 2008, defendant was ordered to make restitution in the amount of

approximately $2,000,000 to a number of victims. According to documents defendant filed in

support of the instant motion, the government issued a subpoena duces tecum to Gail Russell,

defendant’s fiancee, commanding her to appear on 20 April 2010 to testify at a deposition and

produce “[a]ny and all documentation of all monies, property, or other assets received from or

being held for [defendant] for the last three years.” (Mot., Subpoena.) Defendant objects to the

government’s “collection attempt” because (1) Russell’s deposition was not recorded nor was the

oath or affirmation administered to her in accordance with Fed. R. Civ. P. 30; (2) the money

defendant gave to Russell is exempt from collection under 18 U.S.C. § 3613 and 26 U.S.C. §

6334; and (3) requiring Russell to repay the money received would result in financial hardship

on her. (Mot. at 2.)

       To the extent defendant objects to the subpoena issued to Russell, the court agrees with




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the government that defendant lacks standing to challenge that subpoena. “‘Ordinarily, a party

does not have standing to challenge a subpoena issued to a nonparty unless the party claims

some personal right or privilege in the information sought by the subpoena.’” United States v.

Gordon, 247 F.R.D. 509, 509-10 (E.D.N.C. 2007) (quoting United States v. Idema, 118 Fed.

Appx. 740, 744 (4th Cir.2005) (per curiam)). The objections defendant raises do not show that

he has a personal right, or a privilege in, the information the government seeks of Russell, that

being documentary evidence of assets she has received from or being held for defendant.

       Rather, the objections, other than one concerning non-compliance with Rule 30,

constitute a substantive challenge to any efforts on the part of the government to recover funds

from Russell. Again, defendant has a problem with standing to make such a challenge. In

addition, it is not clear that the issue is ripe as it is not apparent that the government has even

formally sought to recover any funds from Russell.

       The motion is DENIED.

       This 5 August 2010.




                                               __________________________________
                                                     W. Earl Britt
                                                     Senior U.S. District Judge




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